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Case 2:05-Cr-20081-BBD Document 18 Filed 07/18/05 Page 1 of 3 Page|D 13

FILFD B`M.j:.`g____“ .__.__D.C.
IN ‘I'HE UNI'I'ED STATES DISTRICT COUR'I'
FOR THE WESTER.N DISTRICT OF 'I‘ENNE

ssEE _
WESTERN DIVISION 05 JUL |l‘ PH 3- 58

 

UNITED STATES OF AMERICA,

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CLEHK, U.S EWSTF\.`;?CT C

Plaint i f f ,
vs. Cr. No. OE~ZOOBl-DV
MI'I'CHAEL BARRINGER, § §
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Defendant . E’_c: §
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MOTION 'I‘O WITHDRAW REQUEST FOR BOND HEARING §§
AND FOR ARRAIGNMENT

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Comes now the defendant, Mitchael Barringer,

by and through
his counsel, April R. Goode,

and moves this Honorable Court to be
permitted to withdraw his motion for bond,

currently set for
hearing on Wednesday, July 20, 2005, at lO:OO a.m.

In support whereof, undersigned counsel states to the Court
that defendant contacted her by telephone this date, and advised
that after reflection, and a determination that this matter would
likely be resolved without trial, he requests that counsel move to
withdraw his bond request.

In addition, Mr.

Barringer moves to be arraigned in this
cause.

WHEREFORE, defendant Mitchael Barringer moves this Court to

permit him to withdraw his previously-filed motion for a bond
hearing, and to be arraigned.

MOTION GRANTED
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Thfs document entered on the docket sh t
with Rule 55 and/or 32(b} FHCrP on

 

ERN!CE BOUIE DONALD
U.S. DIS`IRICT JUDGE

 

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Respectfully submitted,

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APREL-\ R. GOODE
Assistant Federal Defender
200 Jefferson, Suite 200
Memphis, TN 38103

901 544-3895

CERTIFICATE OF SERVICE
I, April R. Goode, certify that I have this date delivered a
true copy of the foregoing Motion to Withdraw Request for Bond
Hearing and for Arraignment to Tony Arvin, Esq., Assistant United
States Attorney, Clifford.Davis Federal Office Building, Suite 800,
167 North Main Street, Memphis, Tennessee, 38103.

THIS the fig day of July, 2005.

@0@%~4.

Apri§ R. Goode

Assistant Federal Defender

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20081 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

